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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                   §
                                         §       CASE NO. 21-33369
 Preferred Ready-Mix
                                         §
                                         §
                                         §       CHAPTER 11; SubV
DEBTOR.                                  §


                APPLICATION FOR APPROVAL OF COMPENSATION
                        FOR SUBCHAPTER 5 TRUSTEE

           THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY
           AFFECT YOU. IF YOU OPPOSE THIS APPLICATION, YOU
           SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO
           RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
           CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A
           COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
           YOUR RESPONSE WITHIN TWENTY-ONE (21) DAYS FROM THE
           DATE THAT THIS MOTION WAS SERVED ON YOU.        YOUR
           RESPONSE MUST STATE WHY THE APPLICATION SHOULD NOT
           BE GRANTED; IF YOU DO NOT FILE A TIMELY RESPONSE, THE
           RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
           YOU. IF YOU OPPOSE THE MOTION AND NOT REACHED AN
           AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE
           PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER
           EVIDENCE AT THE HEARING AND MAY DECIDE THE
           APPLICATION AT THE HEARING.

           A HEARING HAS BEEN SCHEDULED FOR APRIL 22, 2022 AT 11:00
           A.M. ALL HEARINGS BEFORE JUDGE NORMAN WILL BE HELD
           ON A HYBRID BASIS. PARTIES MAY APPEAR EITHER
           REMOTELY OR IN PERSON UNLESS THE COURT ORDERS
           OTHERWISE AS AUTHORIZED BY GENERAL ORDER 2021-15. SEE
           JUDGE NORMAN’S WEBSITE FOR DETAILS ON APPEARING
           REMOTELY:              https://www.txs.uscourts.gov/page/united-states-
           bankruptcy-judge-jeffrey-p-norman




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TO THE HONORABLE JEFFREY P. NORMAN, UNITED STATES BANKRUPTCY JUDGE:

       Allison D. Byman, the Subchapter V Trustee (“Trustee”) for Preferred Ready-Mix LLC

(the “Debtor”) submits this Final Application for Approval of Compensation for Subchapter V

Trustee (the “Fee Application”) and would show as follows.

                                        SUMMARY

                        Name of Applicant                            Allison D. Byman

                         Role of Applicant                         Subchapter V Trustee

                Date Order of Employment Signed:                             n/a

                      Time Period Covered:                          November 23, 2021-

                                                                       March 9, 2021

              Total fees requested in this Application                    $4,160.00

       Total Professional fees requested in this Application              $4,160.00

    Total actual professional hours covered by this Application             10.4

               Average hourly rate for professionals                        $400

                  Reimbursable expenses sought                             $71.72

         Total to be paid to Priority Unsecured Creditors:             Unknown, claim
                                                                      objections pending
    Anticipated % Dividend to Priority Unsecured Creditors:                100%

         Total to be paid to general unsecured creditors:           Approximately $400,000

       Anticipated dividend to general unsecured creditors:                 50%

                  Date of Confirmation Hearing                           2/23/2022

            Indicate whether plan has been confirmed:                        Yes




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1. Debtor filed a voluntary petition for relief on October 14, 2021 (the “Petition Date”)

   and amended its petition to a case under Subchapter V of Chapter 11 of Title 11, as a

   small business debtor as defined by 11 U.S.C. § 101(51D) of the Bankruptcy Code on

   November 19, 2021 [Docket 14].

2. Trustee was appointed November 29, 2021 pursuant to 11 U.S.C. § 1183(a) and notified

   the Court and all creditors and parties in interest through her Verified Statement of

   Subchapter V Trustee of her intent to seek compensation at an hourly rate of $350/hr.

   pursuant to 11 U.S.C. § 330 [Docket No. 36].

3. By this Fee Application and pursuant to 11 U.S.C. § 330(a), Trustee seeks approval

   and payment of her fees from November 23, 2021 through March 9, 2022 in the amount

   of $4,160.00 in fees and $71.72 in expenses.

                             BASIS FOR RELIEF

4. Section 330(a)(1) of the Bankruptcy Code allows for the payment of reasonable

   compensation for actual services rendered by a trustee and reimbursement for actual,

   necessary expenses.

5. Reasonableness of compensation is determined by analyzing the twelve factors set forth

   in In re First Colonial Corp. of America., 544 F.2d 1291 (5th Cir. 1977).

6. Time and Labor Required. Trustee has set forth the actual time expended by Trustee

   in detail in Exhibit 1 which is a detailed time record of billable hours incurred by

   Trustee in connection with her Subchapter V duties in this case. Trustee expended a

   total of 10.4 hours for a total professional fee in the amount of $4,160.00. Trustee

   incurred expenses totaling $71.72 in connection with serving this Fee Application to




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   all creditors. Trustee believes that the amount requested as compensation for services

   rendered is reasonable, necessary and should be approved.

7. Novelty and Difficulty of Questions. This case did not present especially novel or

   difficult questions but there were issues related to the original manner in which the case

   was filed and the Debtor’s lawyer who filed the case. Debtor’s efforts to administer

   the estate in an orderly fashion resulted in the need for certain extensions and the setting

   of specific dates.

8. Skills Requisite to Properly Perform the Legal Services. The skills required of the

   Trustee entailed a solid understanding of chapter 11 bankruptcy cases, small business

   reorganizations as well as the ability to adapt to the situations associated with

   Subchapter V cases.

9. Preclusion of employment. Trustee was not precluded from other employment due to

   the acceptance of this case.

10. Customary fees. Applicant charged her customary standard billing rate to this matter.

   Applicant’s rate increased from $350 per hour to $400 per hour just prior to taking this

   case. Applicant’s rates are commensurate with, or less than, those of other area

   bankruptcy attorneys with similar experience.

11. Fixed fee. Trustee calculated her fee on the basis of an hourly rate for the services

   performed. Trustee agreed to accept appointment of the Subchapter V case at an hourly

   rate of $400.00 which is now her usual and customary fee.

12. Limitations imposed by the Code or Other Circumstances. Trustee attempted to work

   to meet deadlines imposed by the Court and the Bankruptcy Code. This case was

   confirmed on what appears to be a relatively typical Subchapter V timeline and Trustee



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   worked with Debtor’s counsel and creditors to attempt to satisfy all issues in that period

   of time.

13. Necessary for Administration or Beneficial to the Case. The services rendered by

   Trustee in the case were necessary for the administration of the case and in line with

   the duties set forth in Subchapter V.

14. Undesirability of the Case. Like all chapter 11 bankruptcy cases, this case presented

   the possibility that confirmation would not occur. However, the Debtor succeeded in

   confirming a consensual plan in a timely manner such that the undesirability of the case

   did not factor into the fees incurred by the Trustee.

15. Awards in Similar Cases. The Trustee has served as a Subchapter V trustee in several

   cases and received approval of a fee application in those Subchapter V cases on similar

   terms charging $350 per hour. This is true for cases with confirmed plans and with

   dismissals or conversions. The Trustee believes the fees and expenses sought here are

   being approved in similar cases for other Subchapter V trustees also.

16. Results achieved. Trustee assisted Debtor in incorporating subchapter V analysis into

   the plan of reorganization and participated in the required subchapter V settings.

   Trustee discussed plan revisions extensively with Debtor’s counsel. The plan was

   confirmed.



                                  FEES REQUESTED

17. Trustee worked 10.4 hours in connection with her Subchapter V duties. She incurred

   expenses of $71.72 in connection with the service of this fee application. The fees and




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          expenses are set forth in the attached Exhibit 1. Trustee believes these fees and

          expenses are reasonable, necessary and appropriately reimbursable.



       Trustee respectfully requests that this Court enter an Order approving Trustee’s application

for an allowance of fees in the amount of $4,160.00 for time incurred through March 9, 2022 and

expenses in the amount of $71.72.


Dated: March 10, 2022                               /s/ Allison D. Byman, Trustee
                                                    Allison D. Byman
                                                    Subchapter V Trustee
                                                    Byman & Associates PLLC
                                                    7924 Broadway, Suite 104
                                                    Pearland, TX 77581
                                                    281.884.9269 phone
                                                    adb@bymanlaw.com




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